                                                                                                      E-FILED IN OFFICE - AM
                        Case 1:21-cv-02676-TWT Document 1-2 Filed 07/02/21 Page 1 of 26              CLERK OF STATE COURT
                                                                                                 GWINNETT COUNTY, GEORGIA
                                                                                                           21-C-03799-S5
                                                                                                       5/21/2021 4:19 PM
                                                                                                    TIANA P. GARNER, CLERK



                                 IN THE STATE COURT OF GWINNETT COUNTY
                                            STATE OF GEORGIA

              RENE CHATFIELD

                                            Plaintiff,

              v.                                                    CIVIL ACTION
                                                                    FILE NO.:    21-C-03799-S5
              WALMART INC., & WAL-MART STORES
              EAST, LP (DELAWARE).,

                                            Defendant.



                                                                                   JURY TRIAL DEMANDED


                                                         COMPLAINT


                    COMES NOW RENE CHATFIELD, Plaintiff, and makes and files this complaint against
             defendants WAL-MART, INC & WAL-MART STORES EAST, L.P., as follows:


                                            PARTIES AND JURISDICTION
                                                              1.
                    Plaintiff   RENE    CHATFIELD         resides   at
                                           and is subject to the jurisdiction of this court.
                                                              2.
                    WALMART INC is a FOREIGN corporation existing under the laws of DELAWARE with
             its principal place of business in ARKANSAS. WALMART INC transacts business at 1825
             Rockbridge Rd SW, Stone Mountain, GA 30087, and may be served through its registered agent
             THE CORPORATION COMPANY at 106 COLONY PARK DRIVE STE 800-B, CUMMING,
             GA 30040-2794, and is subject to the jurisdiction of this court.




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                                                                   3.
                      WAL-MART STORES EAST, LP (DELAWARE) is a FOREIGN Limited Partnership
             existing under the laws of DELAWARE with its principal place of business in ARKANSAS.
             WALMART INC transacts business at 1825 Rockbridge Rd SW, Stone Mountain, GA 30087, and
             may be served through its registered agent THE CORPORATION COMPANY at 106 COLONY
             PARK DRIVE STE 800-B, CUMMING, GA 30040-2794, and is subject to the jurisdiction of this
             court.
                                                                   4.
                      Jurisdiction and venue are proper in this court.


                                                              BACKGROUND
                                                                   5.
                      On June 18, 2019, Plaintiff was an invitee at Wal-mart Supercenter located at 1825
             Rockbridge Rd SW, Stone Mountain, GA 30087.


                                                                   6.
                      Plaintiff slipped and fell on a foreign substance on the subject premises.


                                                                   7.
                      There were no cones or other warnings in the area of the foreign substance at the time of the
             fall.
                                                                   8.
                      Defendant had exclusive ownership, possession and control over the premises location at all
             times relevant to this litigation.
                                                                   9.
                      As a result of Plaintiff’s fall, she suffered injuries to her person.




                                                                 -2-




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                                                            COUNT 1
                                                   PREMISES LIABILITY
                                                                10.
                     Plaintiff realleges and incorporates herein the allegations contained in paragraphs 1 through
             9 above as if fully restated.
                                                                11
                     Plaintiff was an invitee on the premises at the time of the fall.
                                                                12.
                     Defendant owed a nondelegable duty of reasonable care in keeping the premises safe for
             invitees such as Plaintiff.
                                                                13.
                     Defendant was negligent in failing to properly inspect the area where the fall occurred, in
             failing to remove the hazard from the floor, in failing to take adequate measures to protect invitees
             from substances on the floor and in failing to keep the premises safe for invitees.
                                                                14.
                     Defendant’s negligence was the proximate cause of Plaintiff’s injuries.


                                                            COUNT 2
                                                  VICARIOUS LIABILITY
                                                                15.
                     Plaintiff realleges and incorporates herein the allegations contained in paragraphs 1 through
             14 above as if fully restated.
                                                                16.
                     At all times relevant to this action, the individuals responsible for inspecting, cleaning and
             maintaining the area where Plaintiff fell were employed by Defendants and were acting within the
             scope of their employment.


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                                                               17.
                    Defendants are responsible for the conduct of these individuals under the doctrine of
             respondeat superior, agency or apparent agency.


                                                               COUNT 3
                                          NEGLIGENT TRAINING & SUPERVISION
                                                               18.
                    Plaintiff realleges and incorporates herein the allegations contained in paragraphs 1 through
             17 above as if fully restated.
                                                               19.
                    Defendants were negligent in failing to adopt appropriate policies and procedures to make
             sure that appropriate inspections, cleaning and maintenance were performed on the premises and
             in failing to train its employees concerning safety procedures for inspecting, cleaning and
             maintaining the premises.
                                                               20.
                    Defendants were negligent in training and supervising its staff.
                                                               21.
                    As a result of Defendants’ negligence in training and supervising its employees, Plaintiff was
             injured on the premises.


                    WHEREFORE, Plaintiff prays that she has a trial on all issues and judgment against
             defendant as follows:
                    (a)      That Plaintiff recover the full value of past and future medical expenses and past
             and future lost wages in an amount to be proven at trial;
                    (b)      That Plaintiff recover for mental and physical pain and suffering and emotional
             distress in an amount to be determined by the enlightened conscience of the jury;
                    (c)      That plaintiff recover such other and further relief as is just and proper;
                    (d)      That all issues be tried before a jury.


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             Respectfully submitted, this 21st day of MAY 2021.



                                                            E. ALBERT LAW, LLC,




                                                            ESTHER ALBERT
                                                            Georgia Bar No. 610591
                                                            Attorney for Plaintiff
             E. ALBERT LAW, LLC.
             2575 PEACHTREE RD NE SUITE 300
             ATLANTA, GA 30305
             PHONE: (678) 664-4878
             FAX: (470) 777-2878
             E-MAIL: albert@ealbertlaw.com




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Copy from re:SearchGA
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                        Case 1:21-cv-02676-TWT Document 1-2 Filed 07/02/21 Page 6 of 26          CLERK OF STATE COURT
                                                                                             GWINNETT COUNTY, GEORGIA
                                                                                                       21-C-03799-S5
                                                                                                   6/3/2021 12:26 PM
                                                                                                TIANA P. GARNER, CLERK



                                 IN THE STATE COURT OF GWINNETT COUNTY
                                            STATE OF GEORGIA

              RENE CHATFIELD

                                            Plaintiff,

              v.                                                   CIVIL ACTION
                                                                   FILE NO.: 21-C-03799-S1
              WALMART INC., & WAL-MART STORES
              EAST, LP (DELAWARE).,

                                            Defendant.



                                                                                JURY TRIAL DEMANDED


                                           FIRST AMENDED COMPLAINT


                    COMES NOW RENE CHATFIELD, Plaintiff, and makes and files this complaint against
             defendants WAL-MART, INC & WAL-MART STORES EAST, L.P., as follows:


                                            PARTIES AND JURISDICTION
                                                             1.
                    Plaintiff   RENE    CHATFIELD        resides   at
             BROOKHAVEN, GA 30319 and is subject to the jurisdiction of this court.
                                                             2.
                    WALMART INC is a FOREIGN corporation existing under the laws of DELAWARE with
             its principal place of business in ARKANSAS. WALMART INC transacts business at 1825
             Rockbridge Rd SW, Stone Mountain, GA 30087, and may be served through its registered agent
             THE CORPORATION COMPANY at 106 COLONY PARK DRIVE STE 800-B, CUMMING,
             GA 30040-2794, and is subject to the jurisdiction of this court.




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                                                                  3.
                      WAL-MART STORES EAST, LP (DELAWARE) is a FOREIGN Limited Partnership
             existing under the laws of DELAWARE with its principal place of business in ARKANSAS.
             WALMART INC transacts business at 1825 Rockbridge Rd SW, Stone Mountain, GA 30087, and
             may be served through its registered agent THE CORPORATION COMPANY at 106 COLONY
             PARK DRIVE STE 800-B, CUMMING, GA 30040-2794, and is subject to the jurisdiction of this
             court.
                                                                  4.
                      Jurisdiction and venue are proper in this court.


                                                             BACKGROUND
                                                                  5.
                      On June 18, 2019, Plaintiff was an invitee at Wal-Mart Supercenter located at 1825
             Rockbridge Rd SW, Stone Mountain, GA 30087.


                                                                  6.
                      Plaintiff slipped on a foreign substance on the subject premises.


                                                                  7.
                      There were no cones or other warnings in the area of the foreign substance at the time of the
             slip.
                                                                  8.
                      Defendant had exclusive ownership, possession and control over the premises location at all
             times relevant to this litigation.
                                                                  9.
                      As a result of Plaintiff’s slip, she suffered injuries to her person.




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                                                           COUNT 1
                                                   PREMISES LIABILITY
                                                                10.
                     Plaintiff realleges and incorporates herein the allegations contained in paragraphs 1 through
             9 above as if fully restated.
                                                                11
                     Plaintiff was an invitee on the premises at the time of the slip.
                                                                12.
                     Defendant owed a nondelegable duty of reasonable care in keeping the premises safe for
             invitees such as Plaintiff.
                                                                13.
                     Defendant was negligent in failing to properly inspect the area where the slip occurred, in
             failing to remove the hazard from the floor, in failing to take adequate measures to protect invitees
             from substances on the floor and in failing to keep the premises safe for invitees.
                                                                14.
                     Defendant’s negligence was the proximate cause of Plaintiff’s injuries.


                                                           COUNT 2
                                                  VICARIOUS LIABILITY
                                                                15.
                     Plaintiff realleges and incorporates herein the allegations contained in paragraphs 1 through
             14 above as if fully restated.
                                                                16.
                     At all times relevant to this action, the individuals responsible for inspecting, cleaning and
             maintaining the area where Plaintiff fell were employed by Defendants and were acting within the
             scope of their employment.


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                                                               17.
                    Defendants are responsible for the conduct of these individuals under the doctrine of
             respondeat superior, agency or apparent agency.


                                                               COUNT 3
                                          NEGLIGENT TRAINING & SUPERVISION
                                                               18.
                    Plaintiff realleges and incorporates herein the allegations contained in paragraphs 1 through
             17 above as if fully restated.
                                                               19.
                    Defendants were negligent in failing to adopt appropriate policies and procedures to make
             sure that appropriate inspections, cleaning and maintenance were performed on the premises and
             in failing to train its employees concerning safety procedures for inspecting, cleaning and
             maintaining the premises.
                                                               20.
                    Defendants were negligent in training and supervising its staff.
                                                               21.
                    As a result of Defendants’ negligence in training and supervising its employees, Plaintiff was
             injured on the premises.


                    WHEREFORE, Plaintiff prays that she has a trial on all issues and judgment against
             defendant as follows:
                    (a)      That Plaintiff recover the full value of past and future medical expenses and past
             and future lost wages in an amount to be proven at trial;
                    (b)      That Plaintiff recover for mental and physical pain and suffering and emotional
             distress in an amount to be determined by the enlightened conscience of the jury;
                    (c)      That plaintiff recover such other and further relief as is just and proper;
                    (d)      That all issues be tried before a jury.


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             Respectfully submitted, this 3rd day of JUNE 2021.



                                                           E. ALBERT LAW, LLC,




                                                           ESTHER ALBERT
                                                           Georgia Bar No. 610591
                                                           Attorney for Plaintiff
             E. ALBERT LAW, LLC.
             2575 PEACHTREE RD NE SUITE 300
             ATLANTA, GA 30305
             PHONE: (678) 664-4878
             FAX: (470) 777-2878
             E-MAIL: albert@ealbertlaw.com




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               IN THE STATE COURT OF GWINNETT COUNTY
                          STATE OF GEORGIA

RENE CHATFIELD,                                           Civil Action File No.
                                                          21-C-03799-S5
             Plaintiff,
v.

WALMART INC. AND
WAL-MART STORES EAST, LP (DELAWARE),

             Defendants.
                             /

                           ANSWER OF DEFENDANTS

      COME NOW, Defendants WALMART INC. and WAL-MART STORES EAST,

LP and make this Answer to Plaintiff's Complaint as follows:

                                  FIRST DEFENSE

      Plaintiff's Complaint fails to state a claim against Defendants upon which

relief can be granted.

                                 SECOND DEFENSE

      Plaintiff's alleged damages, if any, were directly and proximately caused by

Plaintiff's own contributory negligence and failure to exercise ordinary care.

                                 THIRD DEFENSE

      Plaintiff was not in the exercise of ordinary care for her own safety in the

premises, and by the exercise of ordinary care could have avoided any injury to



                                                                           Page -1-
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herself; and on account thereof, Plaintiff is not entitled to recover from Defendants.

                                FOURTH DEFENSE

      Defendants deny that they were negligent in any manner whatsoever or that

any negligent act or omission on their part caused or contributed to any injury or

damage alleged to have been sustained by Plaintiff.

                                 FIFTH DEFENSE

      Plaintiff assumed the risk of any hazard that was presented and is thereby

barred from recovering against Defendants.

                                 SIXTH DEFENSE

      Plaintiff's claims are barred by the applicable statutes of limitation.

                               SEVENTH DEFENSE

      Plaintiff's claims are barred by laches.

                                EIGHTH DEFENSE

      Venue is improper as to Walmart Inc.

                                 NINTH DEFENSE

      Defendants respond to the enumerated paragraphs of Plaintiff's Complaint

as follows:

                                          1.

      Defendants lack sufficient information to either admit or deny the allegations



                                                                                Page -2-
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contained in paragraph 1 of the Plaintiff's Complaint.

                                        2.

      Defendants deny the allegations contained in paragraph 2 of Plaintiff's

Complaint.

                                        3.

      Defendants deny the allegations contained in paragraph 3 of the Plaintiff's

Complaint.

                                        4.

      Defendants deny the allegations contained in paragraph 4 of the Plaintiff's

Complaint. Jurisdiction and venue are now proper in the United States District

Court, Northern District of Georgia, Atlanta Division.

                                        5.

      Defendants lack sufficient information to either admit or deny the allegations

contained in paragraph 5 of the Plaintiff's Complaint.

                                        6.

      Defendants deny the allegations contained in paragraph 6 of Plaintiff's

Complaint.

                                        7.

      Defendants deny the allegations contained in paragraph 7 of the Plaintiff's



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Complaint, as stated.

                                         8.

      Defendants admit only that Wal-Mart Stores East, LP operated the subject

store. Defendants deny the remaining allegations contained in paragraph 8 of the

Plaintiff's Complaint.

                                         9.

      Defendants deny the allegations contained in paragraph 9 of Plaintiff's

Complaint.

                                        10.

      Defendants re-allege and incorporate herein the answers contained in

paragraphs 1 through 9 above, as if fully restated.

                                        11.

      Defendants deny the allegations contained in paragraph 11 of the Plaintiff's

Complaint, as stated.

                                        12.

      Defendants deny the allegations contained in paragraph 12 of Plaintiff's

Complaint as stated. The applicable statute and case law speak for themselves.

                                        13.

      Defendants deny the allegations contained in paragraph 13 of Plaintiff's



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Complaint.

                                        14.

      Defendants deny the allegations contained in paragraph 14 of the Plaintiff's

Complaint.

                                        15.

      Defendants re-allege and incorporate herein the answers contained in

paragraphs 1 through 14 above, as if fully restated.

                                        16.

      Defendants deny the allegations contained in paragraph 16 of the Plaintiff's

Complaint.

                                        17.

      Defendants deny the allegations contained in paragraph 17 of the Plaintiff's

Complaint.

                                        18.

      Defendants re-allege and incorporate herein the answers contained in

paragraphs 1 through 17 above, as if fully restated.

                                        19.

      Defendants deny the allegations contained in paragraph 19 of the Plaintiff's

Complaint.



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                                         20.

      Defendants deny the allegations contained in paragraph 20 of the Plaintiff's

Complaint.

                                         21.

      Defendants deny the allegations contained in paragraph 21 of the Plaintiff's

Complaint.

                                         22.

      All other allegations contained in the Complaint which are not specifically

responded to herein, are, therefore, denied.

                                         23.

      Defendants deny Plaintiff's prayer for relief, including subparagraphs (a), (b),

(c), and (d), thereof.

      WHEREFORE, Defendants pray that Plaintiff's Complaint be dismissed with

all costs cast upon the Plaintiff. DEFENDANTS DEMAND TRIAL BY A JURY OF

TWELVE (12) PERSONS AS TO ALL ISSUES SO TRIABLE.


                                       McLAIN & MERRITT, P.C.



                                       /s/ Howard M. Lessinger
                                       Howard M. Lessinger
                                       Georgia Bar No. 447088


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                                    /s/ Jennie Rogers
                                   Jennie Rogers
                                   Georgia Bar No. 612725
                                   Attorneys for Defendants
                                   WALMART INC.
                                   WAL-MART STORES EAST, LP

3445 Peachtree Road, N.E.
Suite 500
Atlanta GA 30326
(404) 365-4514
(404) 364-3138 (fax)
hlessinger@mmatllaw.com




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                         CERTIFICATE OF SERVICE

     I hereby certify that a copy of the above and foregoing ANSWER OF

DEFENDANT WALMART INC. AND WAL-MART STORES EAST, LP has this day

been filed and served upon opposing counsel via Odyssey eFileGA.

     This the   2nd   day of July, 2021.

                                    McLAIN & MERRITT, P.C.



                                    /s/ Howard M. Lessinger
                                    Howard M. Lessinger
                                    Georgia Bar No. 447088
                                    Attorney for Defendants
                                    WALMART INC.
                                    WAL-MART STORES EAST, LP
3445 Peachtree Road, N.E.
Suite 500
Atlanta GA 30326
(404) 365-4514
(404) 364-3138 (fax)
hlessinger@mmatllaw.com




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      Case 1:21-cv-02676-TWT Document 1-2 Filed 07/02/21 Page 19 of 26




               IN THE STATE COURT OF GWINNETT COUNTY
                          STATE OF GEORGIA

RENE CHATFIELD,                                           Civil Action File No.
                                                          21-C-03799-S5
            Plaintiff,
v.

WALMART INC. AND
WAL-MART STORES EAST, LP (DELAWARE),

            Defendants.
                             /

ANSWER OF DEFENDANTS TO PLAINTIFF'S FIRST AMENDED COMPLAINT

      COME NOW, Defendants WALMART INC. and WAL-MART STORES EAST,

LP and make this Answer to Plaintiff's First Amended Complaint as follows:

                                  FIRST DEFENSE

      Plaintiff's First Amended Complaint fails to state a claim against Defendants

upon which relief can be granted.

                                 SECOND DEFENSE

      Plaintiff's alleged damages, if any, were directly and proximately caused by

Plaintiff's own contributory negligence and failure to exercise ordinary care.

                                 THIRD DEFENSE

      Plaintiff was not in the exercise of ordinary care for her own safety in the

premises, and by the exercise of ordinary care could have avoided any injury to



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herself; and on account thereof, Plaintiff is not entitled to recover from Defendants.

                                FOURTH DEFENSE

      Defendants deny that they were negligent in any manner whatsoever or that

any negligent act or omission on their part caused or contributed to any injury or

damage alleged to have been sustained by Plaintiff.

                                 FIFTH DEFENSE

      Plaintiff assumed the risk of any hazard that was presented and is thereby

barred from recovering against Defendants.

                                 SIXTH DEFENSE

      Plaintiff's claims are barred by the applicable statutes of limitation.

                               SEVENTH DEFENSE

      Plaintiff's claims are barred by laches.

                                EIGHTH DEFENSE

      Venue is improper as to Walmart Inc.

                                 NINTH DEFENSE

      Defendants respond to the enumerated paragraphs of Plaintiff's First

Amended Complaint as follows:

                                          1.

      Defendants lack sufficient information to either admit or deny the allegations



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contained in paragraph 1 of the Plaintiff's First Amended Complaint.

                                         2.

      Defendants deny the allegations contained in paragraph 2 of Plaintiff's First

Amended Complaint.

                                         3.

      Defendants deny the allegations contained in paragraph 3 of the Plaintiff's

First Amended Complaint.

                                         4.

      Defendants deny the allegations contained in paragraph 4 of the Plaintiff's

First Amended Complaint. Jurisdiction and venue are now proper in the United

States District Court, Northern District of Georgia, Atlanta Division.

                                         5.

      Defendants lack sufficient information to either admit or deny the allegations

contained in paragraph 5 of the Plaintiff's First Amended Complaint.

                                         6.

      Defendants deny the allegations contained in paragraph 6 of Plaintiff's First

Amended Complaint.

                                         7.

      Defendants deny the allegations contained in paragraph 7 of the Plaintiff's



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First Amended Complaint, as stated.

                                         8.

      Defendants admit only that Wal-Mart Stores East, LP operated the subject

store. Defendants deny the remaining allegations contained in paragraph 8 of the

Plaintiff's First Amended Complaint.

                                         9.

      Defendants deny the allegations contained in paragraph 9 of Plaintiff's First

Amended Complaint.

                                        10.

      Defendants re-allege and incorporate herein the answers contained in

paragraphs 1 through 9 above, as if fully restated.

                                        11.

      Defendants deny the allegations contained in paragraph 11 of the Plaintiff's

First Amended Complaint, as stated.

                                        12.

      Defendants deny the allegations contained in paragraph 12 of Plaintiff's First

Amended Complaint as stated. The applicable statute and case law speak for

themselves.




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                                        13.

      Defendants deny the allegations contained in paragraph 13 of Plaintiff's First

Amended Complaint.

                                        14.

      Defendants deny the allegations contained in paragraph 14 of the Plaintiff's

First Amended Complaint.

                                        15.

      Defendants re-allege and incorporate herein the answers contained in

paragraphs 1 through 14 above, as if fully restated.

                                        16.

      Defendants deny the allegations contained in paragraph 16 of the Plaintiff's

First Amended Complaint.

                                        17.

      Defendants deny the allegations contained in paragraph 17 of the Plaintiff's

First Amended Complaint.

                                        18.

      Defendants re-allege and incorporate herein the answers contained in

paragraphs 1 through 17 above, as if fully restated.




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                                         19.

      Defendants deny the allegations contained in paragraph 19 of the Plaintiff's

First Amended Complaint.

                                         20.

      Defendants deny the allegations contained in paragraph 20 of the Plaintiff's

First Amended Complaint.

                                         21.

      Defendants deny the allegations contained in paragraph 21 of the Plaintiff's

First Amended Complaint.

                                         22.

      All other allegations contained in the Complaint which are not specifically

responded to herein, are, therefore, denied.

                                         23.

      Defendants deny Plaintiff's prayer for relief, including subparagraphs (a), (b),

(c), and (d), thereof.

      WHEREFORE, Defendants pray that Plaintiff's First Amended Complaint be

dismissed with all costs cast upon the Plaintiff. DEFENDANTS DEMAND TRIAL

BY A JURY OF TWELVE (12) PERSONS AS TO ALL ISSUES SO TRIABLE.




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      Case 1:21-cv-02676-TWT Document 1-2 Filed 07/02/21 Page 25 of 26




                                   McLAIN & MERRITT, P.C.



                                   /s/ Howard M. Lessinger
                                   Howard M. Lessinger
                                   Georgia Bar No. 447088


                                    /s/ Jennie Rogers
                                   Jennie Rogers
                                   Georgia Bar No. 612725
                                   Attorneys for Defendants
                                   WALMART INC.
                                   WAL-MART STORES EAST, LP

3445 Peachtree Road, N.E.
Suite 500
Atlanta GA 30326
(404) 365-4514
(404) 364-3138 (fax)
hlessinger@mmatllaw.com




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      Case 1:21-cv-02676-TWT Document 1-2 Filed 07/02/21 Page 26 of 26




                        CERTIFICATE OF SERVICE

     I hereby certify that a copy of the above and foregoing ANSWER OF

DEFENDANT WALMART INC. AND WAL-MART STORES EAST, LP TO

PLAINTIFF'S FIRST AMENDED COMPLAINT has this day been filed and served

upon opposing counsel via Odyssey eFileGA.

     This the 2nd     day of July, 2021.

                                    McLAIN & MERRITT, P.C.



                                    /s/ Howard M. Lessinger
                                    Howard M. Lessinger
                                    Georgia Bar No. 447088
                                    Attorney for Defendants
                                    WALMART INC.
                                    WAL-MART STORES EAST, LP
3445 Peachtree Road, N.E.
Suite 500
Atlanta GA 30326
(404) 365-4514
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